Case 1:20-cv-04662-HG-PK Document 44 Filed 10/28/21 Page 1 of 5 PageID #: 417




                                                                   Edward P. Boyle
                                                                   T 212.808.5675
                                                                   F 212.307.5598
                                                                   epboyle@venable.com

October 28, 2021

By ECF

Magistrate Judge Peggy Kuo
United States District Court for the Eastern District of New York
225 Cadman Plaza East, Courtroom 11C South
Brooklyn, New York 11201

       Re:     Rosenfeld v. AC2T, Inc., No. 1:20-cv-04662-FB-PK (E.D.N.Y.)

Dear Judge Kuo:

       My firm represents Defendant AC2T, Inc. (“Defendant”) in the action referenced above.
Together with Plaintiff Kalman Rosenfeld (“Plaintiff”), and in accordance with Rule IV of Your
Honor’s Individual Rules, we write to respectfully request an extension of the current Scheduling
Order. A Stipulated Proposed Amended Scheduling Order signed by both parties is attached as
Exhibit A.

          The current Scheduling Order sets a December 7, 2021 deadline for Plaintiff to file his
motion for Rule 23 class certification. The current Scheduling Order contemplated that
substantial discovery would be completed before Plaintiff files his class certification motion.
Defendant has been proceeding in good faith in its efforts to identify, gather, review, and
produce documents responsive to Plaintiff’s requests. For several reasons, these good-faith
efforts have taken longer than Defendant had initially anticipated. Defendant anticipates making
its first production of documents this week, and plans to make subsequent productions on a
rolling basis. Defendant cannot yet predict with reasonable certainty when it will complete its
document production.

        Accordingly, to allow the parties time to conduct substantial discovery before proceeding
to class certification motions, the parties jointly request that the Court set March 7, 2022 as the
new deadline for Plaintiff to move for class certification. Consistent with the existing
Scheduling Order, all subsequent discovery and motion deadlines would follow from the date
that Plaintiff files his class certification motion. The parties are hopeful that document
production will be completed in time to comply with this revised schedule, but they are mindful
of the fact that further extensions may be necessary if Defendant’s document production is not
completed with sufficient time to conduct document review, depositions, and other necessary
steps prior to Plaintiff’s deadline for filing his motion for class certification. This is the first
request to amend the Scheduling Order.
Case 1:20-cv-04662-HG-PK Document 44 Filed 10/28/21 Page 2 of 5 PageID #: 418




Magistrate Judge Peggy Kuo
October 28, 2021
Page 2



       We appreciate the Court’s consideration. If Your Honor has any questions or concerns,
we can be available at the Court’s convenience.

                                                  Respectfully,

                                                  /s/ Edward P. Boyle

                                                  Edward P. Boyle

cc:    Counsel of Record (via ECF)
Case 1:20-cv-04662-HG-PK Document 44 Filed 10/28/21 Page 3 of 5 PageID #: 419




        EXHIBIT A
Case 1:20-cv-04662-HG-PK Document 44 Filed 10/28/21 Page 4 of 5 PageID #: 420




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
                                                          :
 KALMAN ROSENFELD, individually and                       :
 on behalf of all others similarly situated,              :   No.: 1:20-cv-04662-FB-PK
                                                          :
                            Plaintiff,                    :
                                                          :
 v.                                                       :   STIPULATED PROPOSED
                                                          :   AMENDED SCHEDULING
 AC2T, INC.                                               :   ORDER
                                                          :
                            Defendant.                    :
                                                          :
---------------------------------------------------------x

        WHEREAS the parties have met and conferred and agreed upon an amended discovery

schedule, it is hereby stipulated to and agreed as follows:

             1. Motion for Rule 23 Class Certification shall be due on or before March 7, 2022.

             2. The Opposition to the Motion for Rule 23 Class Certification shall be due 49 days
                after the moving brief is filed.

             3. The Reply in Further Support of the Motion for Rule 23 Class Certification shall be
                due 28 days after the Opposition is filed.

             4. All fact discovery is to be completed 60 days after the ruling on the motion for class
                certification.

             5. A joint status report certifying the close of fact discovery and indicating whether
                expert discovery is needed is due 60 days after the ruling on the motion for class
                certification.

             6. Affirmative expert reports are due 60 days after the ruling on the motion for class
                certification.

             7. Rebuttal expert reports are due 90 days after the ruling on the motion for class
                certification.

             8. Depositions of experts are to be completed 120 days after the ruling on the motion
                for class certification.

             9. All discovery is to be completed 120 days after the ruling on the motion for class
Case 1:20-cv-04662-HG-PK Document 44 Filed 10/28/21 Page 5 of 5 PageID #: 421




               certification.

           10. A joint status report certifying the close of all discovery is due 120 days after the
               ruling on the motion for class certification.

           11. If any party seeks a dispositive motion, the request for a pre-motion conference (if
               required) or the briefing schedule must be filed 127 days after the ruling on the
               motion for class certification.

       The parties may jointly agree to amend the above dates by filing a further stipulation with

the Court, which shall be subject to the Court’s approval. This schedule may also be amended for

cause upon application of a party to the Court.




Dated: New York, New York
       October 28, 2021


VENABLE LLP                                            BURSOR & FISHER, P.A.


By: /s/ Edward P. Boyle                                By: /s/ Yitzchak Kopelk
        Edward P. Boyle                                        Yitzchak Kopel
        Anna G. Dimon                                          Alec M. Leslie
Rockefeller Center                                     888 Seventh Avenue
1270 Avenue of the Americas                            New York, NY 10019
New York, NY 10020                                     Tel: (646) 837-7150
Tel: (212) 808-5675                                    ykopel@bursor.com
epboyle@venable.com                                    aleslie@bursor.com
agdimon@venable.com
                                                       Attorneys for Plaintiff
Attorneys for Defendant AC2T, Inc.




SO ORDERED, ________________, 2021
Honorable Peggy Kuo
United States Magistrate Judge
